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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CABLE NEWS NETWORK, INC. and ABILIO                      :
 JAMES ACOSTA,                                            :
                                                          :      CIVIL ACTION
                                          Plaintiffs,     :
                                                          :
                            v.                            :      NO. 1:18-CV-02610-TJK
                                                          :
 DONALD J. TRUMP, in his official capacity as               :
 President of the United States; JOHN F. KELLY, in          :
 his official capacity as Chief of Staff to the President :
 of the United States; WILLIAM SHINE, in his                :
 official capacity as Deputy Chief of Staff to the          :
 President of the United States; SARAH                      :
 HUCKABEE SANDERS, in her official capacity as              :
 Press Secretary to the President of the United States; :
 the UNITED STATES SECRET SERVICE;                          :
 RANDOLPH ALLES, in his official capacity as                :
 Director of the United States Secret Service; and         :
 JOHN DOE, Secret Service Agent, in his official           :
 Capacity,                                                :
                                                          :
                                        Defendants        :


       BRIEF OF ONE AMERICA NEWS NETWORK AS AMICUS CURIAE OPPOSING
        PLAINTIFFS’ MOTIONS FOR A TEMPORARY RESTRAINING ORDER AND
                          PRELIMINARY INJUNCTION

 I.      INTEREST OF AMICUS CURIAE

        Amicus curiae One America News Network (“OAN”), is a 24/7 national cable news network

owned and operated by Herring Networks, Inc., a California corporation. One America News

Network reports daily from the White House and generally attends all briefings available to White

House press. OAN has an assigned seat in the White House briefing room and the network’s Chief

White House Correspondent has traveled to Singapore and Europe to provide live coverage of the

President of the United States during key international meetings. One America News Network

provides daily live reporting from the White House using multiple reporters and staff videographers.

 II.     ARGUMENT

        One America News Network is passionate and adamantly supportive of an unfettered free

press. This is a very simple issue. The repeated, unprofessional conduct by one specific reporter,
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namely CNN’s Chief White House Correspondent, Plaintiff Jim Acosta, has hindered our free press

from functioning effectively during White House briefings. Mr. Acosta has a long history of

interrupting White House briefings with his disruptive behavior.          Plaintiff Acosta’s history of

interruptions, unnecessary and excessive consumption of time with his grandstanding, and

obstructive conduct toward his colleagues should have been addressed by CNN and the WHCA some

time ago. When a reporter is hindering other White House Correspondents, his employer and the

WHCA should take reasonable action to prevent such disruptive behavior. Mr. Acosta’s behavior

in failing to yield to fellow journalists when asked by the President of the United States was no

surprise to anyone. It was typical of a pattern of behavior exhibited by Plaintiff Acosta who seems

to think his comments are more important than other journalists in the room. The video of Mr.

Acosta’s unprofessional, aggressive behavior is clear, and the President’s words were right on point,

Mr. Acosta was nothing short of “rude” and disrespectful. Plaintiff Acosta was rude to his fellow

reporters, disrespectful to the President of the United States, and disruptive to our fundamental

principle of a free functioning press. CNN has numerous professional and capable reporters. The

actions taken by the White House are reasonable and justified to maintain an environment for press

to function unhindered and reflect steps which should have been taken long ago by CNN.

       Additionally, Plaintiff Acosta does not have a protectible First Amendment interest or right

in the context of this dispute. As set forth above and is otherwise obvious, apparent and subject to

judicial notice, Mr. Acosta’s continual interruptions, unnecessary and excessive consumption of time

with narratives of his personal beliefs and viewpoints and otherwise self-serving and obstructive

conduct toward his colleagues, the White House and the press briefing process evinces a singular

motive and desire to be heard and have his views broadcast. While this narcissistic approach may

serve Plaintiffs’ self-interests as entertainers or media figures and the network that profits therefrom,

they do not serve the interests of the forum or the other participants in the White House briefing


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process and are not constitutionally protected. Simply put, Plaintiff Acosta has no constitutional right

to appear on television and broadcast his viewpoints on behalf of Plaintiff CNN under the

circumstances presented in this case and Plaintiff Acosta’s exclusion from participation by this non-

public forum is reasonable. See Arkansas Educ. Television Com’n v. Forbes, 523 U.S. 666 (1998).

III.     CONCLUSION

       For all of these reasons, One America News Network requests that the Court deny Plaintiffs

CNN and Acosta the relief that each seeks and uphold the reasonable actions by the Defendants and

the Administration to restore reasonable conduct during White House press briefings.

        Respectfully submitted his 15th day of November 2018.
                                              s/ W. Bruce DelValle             .
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                                              Network.

                                  CERTIFICATE OF SERVICE
        I hereby certify that on November 15, 2018, I electronically filed the foregoing Amicus
Curiae Brief of One America News Network, in Opposition to Plaintiffs’ Motions for a Temporary
Restraining Order and Preliminary Injunction in Case No: 18-CV-02610-TJK, with the Clerk of the
U.S. District Court for the District of Columbia by using the CM/ECF system, which will serve all
registered CM/ECF users.

                                              /s/ W. Bruce DelValle                                  .
                                              W. Bruce DelValle, Bar No: 1520906




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